       Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 1 of 11




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      NEWNAN DIVISION

GLORIA KERR,

     Plaintiff,
                                         CIVIL ACTION FILE
v.
                                         NUMBER 3:15-cv-28-TCB
CHELSEA KERR RICHMOND,

     Defendant.

                                ORDER

     Presently before the Court are Plaintiff Gloria Kerr’s motion for a

preliminary injunction [15] and motion for summary judgment [17],

Defendant Chelsea Kerr Richmond’s motion to dismiss [22], and the

receiver’s motion for costs [33]. The facts giving rise to this lawsuit are

discussed at length in the Court’s April 30, 2015 order [26] and will be

repeated here only to the extent necessary to dispose of the instant

motions.

I.   Richmond’s Motion to Dismiss the Amended Complaint

     Most of the arguments put forth by Richmond in support of her

motion to dismiss the amended complaint were previously rejected by
       Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 2 of 11




the Court in its April 30 order [26]. For all the reasons set forth in that

order, the Court again rejects Richmond’s arguments that (1) the

MetLife merger clause superseded any prior agreement between

Richmond and Kerr regarding the insurance proceeds, see [26] at pp.22-

26, and (2) the agreement between Richmond and Kerr was not

supported by consideration, see id. at pp.26-32.

     Richmond contends that Kerr’s fraud claim is subject to dismissal

because it is not pled with the requisite specificity. Rule 9(b) of the

Federal Rules of Civil Procedure requires a party to “state with

particularity the circumstances constituting fraud.” This rule requires a

plaintiff to allege “who made the misrepresentations, what their precise

content was, when they were made, and where they were made.”

Sampson v. Wash. Mut. Bank, 453 F. App’x 863, 866 (11th Cir. 2011).

Kerr has met this standard by averring that in a November 7, 2014 e-

mail and a subsequent settlement agreement, Richmond promised to

pay Kerr $200,000 but that when that promise was made, Richmond

had no intention of performing. [14], ¶¶ 8, 9, 52. She even states where

in the record copies of the referenced e-mail and settlement agreement

                                     2
       Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 3 of 11




can be located. These allegations are sufficient under Rule 9(b) because

they “alert [Richmond] to the precise misconduct with which [she is]

charged.” Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d

1364, 1370-71 (11th Cir. 1997) (internal punctuation omitted).

     Under Georgia law, a fraud claim cannot be premised on mere

broken promises or unfulfilled predictions. Greenwald v. Odom, 723

S.E.2d 305, 313 (Ga. Ct. App. 2012). But a fraud claim is not subject to

dismissal merely because the representation made can in some sense be

said to look to the future. Georgia law recognizes that “a cause of action

for fraud may lie where, at the time of the misrepresentation, the

promisor either knows that the future event will not occur or has no

intention of performing.” C&C Family Tr. 04/04/05 ex rel. Cox-Ott v.

AXA Equitable Life Ins. Co., 44 F. Supp. 3d 1247, 1256 (N.D. Ga. 2014).

That is what Kerr has alleged in her fraud claim, and that is sufficient

to state a claim for fraud.

     Richmond next moves to dismiss count one of Kerr’s amended

complaint, which is titled “Constructive Trust and Equitable Lien.” In

so moving, Richmond argues that “Plaintiff has no v[al]id claim to these

                                     3
          Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 4 of 11




proceeds” and that Kerr “released all claims and any possible interest in

the proceeds by signing” the MetLife release, arguments the Court has

already rejected. [22-1], p.22. But Richmond correctly points out that “a

constructive trust is a remedy, not a cause of action.” APA Excelsior III,

LLP v. Windley, 329 F. Supp. 2d 1328, 1366 (N.D. Ga. 2004). Thus, the

Court will grant the motion to dismiss count one to the extent it is

asserted as a separate theory of recovery. In so doing, however, “the

Court does not intend to foreclose any appropriate remedy should [Kerr]

prevail at trial. However, should [Kerr] wish to pursue this remedy, the

Court will expect the parties to present argument as to whether it is an

appropriate remedy in this case.” Id.1

      Finally, Kerr concedes that her claim for unjust enrichment,

which was pled as an alternative to her claim for breach of contract, is



      1 If and when the time comes to determine the appropriate remedy in this
case, the parties should be prepared to address, among other things, whether a
constructive trust is available in this dispute over money. See, e.g., Mitsubishi Int’l
Corp. v. Cardinal Textile Sales, Inc., 14 F.3d 1507, 1518-19 (11th Cir. 1994) (noting
that “constructive trusts are not automatically impressed whenever one party owes
another money,” that “equitable relief is available only in the absence of an
adequate remedy at law,” and that where the plaintiff sought only the payment of a
debt, there was “no indication . . . that a legal remedy would not be sufficient to
vindicate [the plaintiff’s] rights.”).

                                           4
      Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 5 of 11




moot by virtue of the Court’s conclusion that the settlement agreement

is an enforceable contract. Accordingly, that claim will be dismissed.

     In conclusion, Richmond’s motion to dismiss the amended

complaint will be granted only as to Kerr’s claims for constructive trust

and equitable lien (count one) and unjust enrichment (count two).

     B.      Kerr’s Motion for Summary Judgment

     Kerr’s motion for summary judgment [17] will be quickly disposed

of, as discovery has not even commenced in this case yet. Pursuant to

Rule 56(d)(1), Kerr’s motion for summary judgment is denied without

prejudice.

     C.      Kerr’s Motion for Preliminary Injunction

     Kerr has also moved for entry of a preliminary injunction in her

favor. To obtain the relief she seeks, Kerr must show that she has a

substantial likelihood of prevailing on the merits of her claims, she will

suffer irreparable injury if an injunction does not issue, the threatened

injury to Kerr in the absence of an injunction outweighs the damage

that issuing the injunction might cause Richmond, and the issuance of




                                    5
       Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 6 of 11




the injunction would not be adverse to the public interest. Siegel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000).

      The Court finds that Kerr has not satisfied her burden of showing

that a preliminary injunction is appropriate. “A showing of irreparable

injury is ‘the sine qua non of injunctive relief.’” Id. (quoting Ne. Fla.

Chapter of the Ass’n of Gen. Contractors v. City of Jacksonville, 896 F.2d

1283, 1285 (11th Cir. 1990)).

      The key word in this consideration is “irreparable.” Mere
      injuries, however substantial, in terms of money, time and
      energy . . . are not enough. The possibility that adequate
      compensatory or other corrective relief will be available at a
      later date, in the ordinary course of litigation, weighs
      heavily against a claim of irreparable harm.

Sampson v. Murray, 415 U.S. 61, 90 (1974).

      Here, Kerr’s claims concerning $200,000 in life-insurance proceeds

are quintessential examples of claims for which there exists an

adequate remedy at law in the form of monetary damages. Kerr’s

allegations that Richmond has already spent a substantial portion of

that money, while troubling, do not change this fact.

      Bringing an action to recover money damages “does not
      entitle the claimant to equitable relief simply because the
      complaint alleges uncertainty of collectability of a judgment

                                      6
          Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 7 of 11




      if a fund of money is permitted to be disbursed. The test of
      the inadequacy of a remedy at law is whether a judgment
      could be obtained, not whether, once obtained it will be
      collectible.”

Rosen v. Cascade Int’l, Inc., 21 F.3d 1520, 1531 (11th Cir. 1994) (quoting

St. Lawrence Co. v. Alkow Realty, Inc., 453 So.2d 514, 514-15 (Fla. 4th

Dist. Ct. App. 1984)).2

       For these reasons, the Court concludes that Kerr has failed to

show that she is entitled to a preliminary injunction. Kerr’s request to

expedite trial on this matter is denied. However, the parties are

cautioned that once discovery commences, extensions are unlikely to be

granted.

      D.      Clifton’s Motion for Costs

      Finally, James Clifton moves the Court to award him $27,757.11

in fees and expenses incurred in his capacity as receiver over

Richmond’s assets. The receivership order entered in the Superior

      2 Kerr argues in support of her motion that “[f]raudulent transfer cases are
especially amenable to interlocutory injunctive relief,” but she has not asserted a
claim under Georgia’s Uniform Voidable Transfers Act, O.C.G.A. §§ 18-2-70 et seq.
Furthermore, to obtain preliminary injunctive relief on a fraudulent transfer claim,
the plaintiff must introduce evidence of the defendant’s “specific intent at the time
the Property was transferred, the terms or circumstances of the transfer,” and other
evidence that is absent from the record in this case. Edgefield Holdings, LLC v.
Mason, No. 1:15-cv-2481-WSD, 2015 WL 4394908, at *2 (N.D. Ga. July 15, 2015).

                                         7
       Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 8 of 11




Court of Spalding County provides that the receiver shall be paid

compensation out of the property that forms the receivership estate and

that he shall be reimbursed for all expenses incurred by the receiver on

behalf of the estate. Clifton also argues that Richmond and her counsel

were stubbornly litigious and required him to expend additional time

and effort over that which should have been necessary.

     The Court previously granted Richmond’s motion to vacate the ex

parte receivership order, finding that it was plagued by numerous

procedural deficiencies that were effectively conceded by Kerr, her

counsel, and the receiver. “The general rule is that, where a court

improperly appoints a temporary receiver on an ex parte order, and

afterwards sets aside and vacates the appointment, the receiver cannot

have his compensation paid from the property of which he had

temporary possession.” Etna Steel & Iron Co. v. Hamilton, 65 S.E. 145,

145 (Ga. 1909); see also Tucker v. Baker, 214 F.2d 627, 632 (5th Cir.

1954) (vacating receivership and directing district court “to charge

against . . . the parties provoking the receivership all the fees, if any,




                                      8
      Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 9 of 11




claimed by the receiver and his attorneys and the expenses incident to

and caused by the receivership”).

     Significantly, Clifton is not a lay receiver, but an attorney licensed

to practice law in Georgia (where he was appointed receiver) and in

Texas (where Richmond’s assets are located). Even assuming he did not

know and should not have known of the many fatal defects in the

receivership order at the time it was obtained, Richmond’s counsel

advised Clifton that they believed the receivership order was defective

and that even if it were not defective, they believed it had expired by

February 15, 2015. Clifton proceeded to act as receiver without seeking

clarification of his rights, and he now seeks an award of more than

$27,000—almost thirty-seven percent of the $75,000 that was seized as

part of the receivership estate. Furthermore, Clifton failed to provide

any billing records or accounting of his own fees, offering only an

affidavit attesting to the number of hours worked (sixty-two), his hourly

billing rate ($350), a non-exhaustive summary of the legal services he

performed, and an explanation of the expenses he incurred. [33-1].




                                    9
      Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 10 of 11




     In light of the Court’s finding that the receivership order was

improperly obtained in the first place and the absence of evidence

showing that Clifton’s expended efforts were reasonable or necessary to

preserve the funds, the Court declines to award Clifton more than one

third of the funds of which he wrongfully took possession. As stated

above, courts generally charge the compensation of a wrongfully

appointed receiver against the party provoking the receivership. Etna

Steel & Iron Co., 65 S.E. at 145; Tucker, 214 F.2d at 632. Neither

Clifton nor Kerr has pointed to any evidence that brings this case

outside the operation of that general rule. The Court expresses no

opinion as to whether or what amount Clifton should be compensated

for his services as receiver, but it will not order that Clifton be paid

from Richmond’s assets.

III. Conclusion

     For the foregoing reasons, Plaintiff’s motion for a preliminary

injunction [15] is denied. Plaintiff’s motion for summary judgment [17]

is denied without prejudice pursuant to Rule 56(d). Defendant’s motion

to dismiss [22] is granted as to Plaintiff’s claims for constructive trust,

                                     10
      Case 3:15-cv-00028-TCB Document 38 Filed 11/10/15 Page 11 of 11




equitable lien, and unjust enrichment; it is denied in all other respects.

Clifton’s motion for costs [33] is denied.

     IT IS SO ORDERED this 10th day of November, 2015.




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                                   Timothy C. Batten, Sr.
                                   United States District Judge




                                     11
